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        From : flp' meira <flp meira@yahoc .com .br>
        Sent: Fri(jayz February
                             - 25, 2011 7:01 AM
        To ; general <generallhotfile .com>
        Subject: Site BaixarTv.com: Hotfile
        Message sent from user with mail - flp meiralyahoo.com .br:
        Reasan: General question              -
        Username: 4329260 (4329260)
        Rank: Silver
        Status : Premium
        Suspended : No
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